                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

 In re: Primary Providers of Alabama, Inc.        )           Case No.: 18-83207-CRJ-11
                                                  )
                                                  )
                Debtor.                           )           CHAPTER 11

   ORDER SETTING DEADLINE TO FILE CHAPTER 11 PLAN AND DISCLOSURE
        STATEMENT AND SETTING BAR DATE FOR FILING CLAIMS

        On December 3, 2018, a Status Conference was held in this case pursuant to 11 U.S.C.
 105(d) to discuss the expeditious and economical resolution of this case, including scheduling
 deadlines. Appearing at the hearing were Tazewell T. Shepard, IV, Esq., counsel for Debtor and
 Richard Blythe, Esq., counsel for the Bankruptcy Administrator.


        At the Status Conference, discussion was had regarding the procedural status of the case,
 and suggestions were solicited regarding a realistic, reasonable deadline for the Debtor to file a
 Disclosure Statement and Plan, and a reasonable bar date for filing claims. Based upon the
 foregoing,
        IT IS HEREBY ORDERED, ADJUDGED AND DECREED as follows:
        1. Pursuant to Bankruptcy Rule 3016(b), the deadline to file the Debtor’s Chapter 11 Plan
        and Disclosure Statement is fixed as Thursday, February 28, 2019, by 5:00 p.m., CDT.
        2. Pursuant to Bankruptcy Rule 3003(c), the deadline for all creditors to file a Proof of
        Claim is Thursday, January 31, 2019, by 5:00 p.m., CDT.
        3. Counsel for the Debtor is directed to immediately give notice of the Claims Bar Date by
        mailing a copy of this Order to the Debtor, all creditors, governmental units, Richard Blythe
        for the Bankruptcy Administrator’s office, and all parties requesting notice.


 Dated this the 6th day of December, 2018.
                                                      /s/ Clifton R. Jessup, Jr.
                                                      Clifton R. Jessup, Jr.
                                                      United States Bankruptcy Judge

 Prepared by:
 Tazewell T. Shepard IV
 Attorney for Debtor




Case 18-83207-CRJ11        Doc 38    Filed 12/06/18 Entered 12/06/18 14:22:42              Desc Main
                                    Document     Page 1 of 1
